        Case 2:19-cv-01130-RSL Document 144 Filed 07/11/22 Page 1 of 1




                   United States District Court
                        WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE

FIRS HOME OWNERS ASSOCIATION,                  JUDGMENT IN A CIVIL CASE

                         Plaintiff,            CASE NUMBER: 2:19-cv-01130-RSL

      v.

CITY OF SEATAC,

                         Defendant.




      Jury Verdict. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

 X    Decision by Court. This action came to consideration before the Court. The
      issues have been considered and a decision has been rendered.

THE COURT HAS ORDERED THAT:

      As set forth in the Court’s Order of July 8, 2022, Judgment is entered in favor of
Defendant City of Seatac, against Plaintiff Firs Home Owners Association.

      DATED this 11th day of July, 2022.

                                         RAVI SUBRAMANIAN,
                                         Clerk of the Court

                                         By:    /s/ Victoria Ericksen
                                                   Deputy Clerk
